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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION
 ADP, LLC,                                      §
                                                §
          Plaintiff,                            §
                                                §
                                                      CIVIL ACTION NO. 5:19-cv-00015-RWS
 v.                                             §
                                                §
 UNILOC LUXEMBOURG, S.A., and                   §
 UNILOC USA, INC.,                              §
                                                §
          Defendants.                           §

                       FOURTH AMENDED DOCKET CONTROL ORDER

        The Parties Joint Motion to Amend the Third Amended Docket Control Order is
GRANTED. It is hereby ORDERED that the following schedule of deadlines is in effect until
further order of this Court.

 3 DAYS after             Parties to file Motion to Seal Trial Exhibits, if they wish to seal any highly
 conclusion of Trial      confidential exhibits.

                         EXHIBITS: See Order below regarding exhibits.
September 28, 2020        9:00 a.m. JURY TRIAL before Judge Robert W. Schroeder III, 500
                          North State Line Avenue, Third Floor, Texarkana, Texas.



                          For planning purposes, parties shall be prepared to start the evidentiary phase
                          of trial immediately following jury selection.

September 28, 2020        9:00 a.m. JURY SELECTION before Judge Robert W. Schroeder III,
                          500 North State Line Avenue, Third Floor, Texarkana, Texas.

September 3, 2020        10:00 a.m. PRETRIAL CONFERENCE before Judge Robert W.
                         Schroeder III, 500 North State Line Avenue, Third Floor, Texarkana,
                         Texas.

                         All pending motions will be heard.
                         Lead trial counsel must attend the pretrial conference.
August 27, 2020
                          File a Notice of Time Requested for (1) voir dire, (2) opening statements,
                          (3) direct and cross examinations, and (4) closing arguments.



                          selection.
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August 27, 2020
                   File Responses to Motions in Limine.
August 20, 2020    File Motions in Limine and pretrial objections


                    The parties are ORDERED to meet and confer to resolve any disputes
                    before filing any motion in limine or objection to pretrial disclosures.

August 20, 2020     File Joint Final Pretrial Order, Joint Proposed Jury Instructions with
                    citation to authority and Form of the Verdict for jury trials.

                    Parties shall use the pretrial order form on Judge Schroeder’s website.

                    Proposed Findings of Fact and Conclusions of Law with citation to authority
                    for issues tried to the bench.

August 11, 2020
                   Exchange Objections to Rebuttal Deposition Testimony.
August 4, 2020      Notice of Request for Daily Transcript or Real Time Reporting of Court
                    Proceedings due.

                    If a daily transcript or real time reporting of court proceedings is requested
                    for trial or hearings, the party or parties making said request shall file a
                    notice with the Court.


August 4, 2020      Exchange Rebuttal Designations and Objections to Deposition Testimony.

                    For rebuttal designations, cross examination line and page numbers to be
                    included.

                    In video depositions, each party is responsible for preparation of the final
                    edited video in accordance with their parties’ designations and the Court’s
                    rulings on objections.



July 21, 2020      Exchange       Pretrial  Disclosures     (Witness     List,
                                  DepositionDesignations, and Exhibit List).

                   Video and Stenographic Deposition Designation due.Each party who proposes
                   to offer deposition testimony shall serve a disclosure identifying the line and
                   page numbers to be offered.




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July 14, 2020       Any Remaining Dispositive Motions due from all parties and any other
                    motions that may require a hearing (including Daubert motions).

                    Motions shall comply with Local Rule CV-56 and Local Rule CV-7. Motions
                    to extend page limits will only be granted in exceptional
                    circumstances.

                    For each motion filed, the moving party SHALL provide the Court with one
                    (1) copy of the completed briefing (opening motion, response, reply, and if
                    applicable, surreply), excluding exhibits, in a
                    three-ring binder appropriately tabbed.            All documents shall be
                    double-sided and must include the CM/ECF header. These copies shall be
                    delivered to Judge Schroeder’s chambers in Texarkana as soon as briefing
                    has completed.
                    Respond to Amended Pleadings.


July 7, 2020
                    Parties to Identify Rebuttal Trial Witnesses.
June 30, 2020       Parties to Identify Trial Witnesses; Amend Pleadings.

                    It is not necessary to file a Motion for Leave to Amend before the deadline to
                    amend pleadings. It is necessary to file a Motion for Leave to Amend after the
                    deadline.
June 16, 2020
                    Discovery Deadline.
December 6, 2019    Document Production Deadline
December 18, 2019   Parties designate rebuttal expert witnesses, rebuttal expert witness reports
                    due. Refer to Local Rules for required information.

                    If, without agreement, a party serves a supplemental expert report after the
                    rebuttal expert report deadline has passed, the serving party must file notice
                    with the Court stating service has occurred and the reason why a
                    supplemental report is necessary under the circumstances.

November 22, 2019   Parties with burden of proof designate expert witnesses. Expert witness
                    reports due. Refer to Local Rules for required information.


July 11, 2019       Defendant shall join additional parties. It is not necessary to file a motion to
                    join additional parties prior to this date. Thereafter, it is necessary to obtain
                    leave of Court to join additional parties.

                    Defendant shall assert any counterclaims. After this deadline, leave of Court
                    must be obtained to assert any counterclaims.




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June 17, 2019            Mediation

                         Parties are encouraged, but not required, to mediate cases.

                          If the parties agree to mediate, they shall jointly file a motion with a
                          proposed order attached. The motion shall indicate whether the parties agree
                          upon a mediator and shall include a mediation deadline. The parties shall
                          confirm the mediator’s availability in light of the proposed deadline. If the
                          parties cannot agree on a mediator, they may request the Court appoint a
                          mediator.

                          If the parties do not agree to mediate, they shall file a notice so indicating.
June 6, 2019             Plaintiff shall join additional parties. It is not necessary to file a motion to join
                         additional parties prior to this date. Thereafter, it is necessary to obtain leave
                         of Court to join additional parties.


3–5 days                  EXPECTED LENGTH OF TRIAL


        In the event that any of these dates fall on a weekend or Court holiday, the deadline is
 modified to be the next Court business day.

         The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
 failure to oppose a motion in the manner prescribed herein creates a presumption that the party
 does not controvert the facts set out by movant and has no evidence to offer in opposition to the
 motion.”

         A party may request an oral hearing on a motion filed with the Court. Any such request
 shall be included in the text or in a footnote on the first page of the motion or any responsive
 pleading thereto. The Court does not hold telephonic hearings absent unusual circumstances.


                                               Other Limitations

        (a)     The following excuses will not warrant a continuance or justify a failure to
                comply with the discovery deadline:
                (i)    The fact that there are motions for summary judgment or motions to
                       dismiss;
                (ii)   The fact that one or more of the attorneys is set for trial in another court on
                       the same day, unless the other setting was made prior to the date of this
                       order or was made as a special provision for the parties in the other case;
                (iii) The failure to complete discovery prior to trial, unless the parties can
                       demonstrate that it was impossible to complete discovery despite their
                       good faith effort to do so.

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      (b)    Amendments to the Docket Control Order (“DCO”): Any motion to alter any date
             on the DCO shall take the form of a motion to amend the DCO. The motion shall
             include a chart in the format of the DCO that lists all of the remaining dates in one
             column (as above) and the proposed changes to each date in an additional
             adjacent column (if there is no change for a date the proposed date column should
             remain blank or indicate that it is unchanged). The motion to amend the DCO
             shall also include a proposed DCO in traditional two-column format that
             incorporates the requested changes and that also lists all remaining dates. In other
             words, the DCO in the proposed order should be complete such that one can
             clearly see all the remaining deadlines rather than needing to also refer to an
             earlier version of the DCO.
      (c)    Motions in Limine: Each side is limited to one (1) motion in limine addressing no
             more than ten (10) disputed issues. In addition, the parties may file a joint motion
             in limine addressing any agreed issues. The Court views motions in limine as
             appropriate for those things that will create the proverbial “skunk in the jury box,”
             e.g., that, if mentioned in front of the jury before an evidentiary ruling can be
             made, would be so prejudicial that the Court could not alleviate the prejudice with
             an appropriate instruction. Rulings on motions in limine do not exclude evidence,
             but prohibit the party from offering the disputed testimony prior to obtaining an
             evidentiary ruling during trial.
      (d)    Exhibits: Each side is limited to designating 250 exhibits for trial absent a
             showing of good cause. The parties shall use the exhibit list sample form on Judge
             Schroeder’s website.
      (e)    Deposition Designations: Each side is limited to designating no more than ten
             (10) hours of deposition testimony for use at trial absent a showing of good cause.
             As trial approaches, if either side needs to designate more than ten (10) hours, the
             party may file a motion for leave and show good cause. All depositions to be read
             into evidence as part of the parties’ case-in-chief shall be EDITED so as to
             exclude all unnecessary, repetitious, and irrelevant testimony; ONLY those
             portions which are relevant to the issues in controversy shall be read into
             evidence.
      (f)    Witness Lists: The parties shall use the witness list sample form on Judge
             Schroeder’s website.


ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

A.    On the first day of trial, each party is required to have:

      (1)    One copy of their respective original exhibits on hand. Each exhibit shall be
             properly labeled with the following information: Identified as either Plaintiff’s or
             Defendant’s Exhibit, the Exhibit Number and the Case Number.
      (2)    Three hard copies of each party’s exhibit list and witness list on hand.
      (3)    One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This
             shall be tendered to the Courtroom Deputy at the beginning of trial.

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B.    The parties shall follow the process below to admit exhibits.

      (1)    On the first day of trial, each party shall tender a preadmitted list of exhibits it
             plans to admit into evidence. This list shall include all exhibits which are NOT
             objected to or to which the Court has already overruled an objection. To the
             extent there are exhibits with outstanding objections for which the parties need a
             ruling from the Court, those exhibits should be separately included on the list and
             designated accordingly to reflect a pending objection. Parties shall entitle the list
             “[Plaintiff’s/Defendant’s] List of Preadmitted Exhibits.” If, during the course of
             the day’s testimony, a party wishes to offer an objected exhibit into evidence, the
             party may move for admission at the time it wishes to use that exhibit with a
             witness. The Court will then hear the opposing party’s objection and will rule on
             the objection at that time.

      (2)    On each subsequent day of trial, the Court will commence by formally admitting
             all of the exhibits that were either unobjected to or allowed over objection and
             used during the previous day’s trial. The Court will ask for these exhibits to be
             read into the record and formally admitted into evidence at the beginning of that
             trial day. These will be the exhibits deemed admitted at trial. The parties shall
             keep a separate running list of all exhibits admitted throughout the course of trial.

      (3)    At the conclusion of evidence, each party shall read into the record any exhibit
             that was used but not previously admitted during the course of trial and then
             tender its final list of every admitted exhibit, entitled “[Plaintiff’s/Defendant’s]
             Final List of All Admitted Exhibits.” To the extent there are exhibits that were not
             admitted during the course of trial, but for which there is agreement that they
             should be provided to the jury, the parties must inform the Court of those exhibits
             at the conclusion of evidence. The Court will then determine whether those
             exhibits will be allowed into the jury room for deliberations.

C.    At the conclusion of evidence, each party shall be responsible for pulling those exhibits
      admitted at trial and shall tender those to the Courtroom Deputy, who will verify the
      exhibits and tender them to the jury for their deliberations. One representative from each
      side shall meet with the Courtroom Deputy to verify the exhibit list.

D.    At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties
      and the parties are instructed to remove these exhibits from the courtroom.

E.    Within five business days of the conclusion of trial, each party shall submit to the
      Courtroom Deputy:

      (1)    A Final Exhibit List of Exhibits Admitted During Trial in Word format.

      (2)    Two CDs containing admitted unsealed trial exhibits in PDF format. If the Court
             ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on

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            a separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall
            be substituted with a photograph in PDF format.

      (3)   A disk containing the transcripts of Video Depositions played during trial, along
            with a copy of the actual video deposition.


  So ORDERED and SIGNED this 17th day of August, 2020.




                                                  ____________________________________
                                                  ROBERT W. SCHROEDER III
                                                  UNITED STATES DISTRICT JUDGE




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